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                                              June 27, 2017


VIA ECF

Honorable Shelley C. Chapman
United States Bankruptcy Court
Southern District of New York
One Bowling Green
New York, New York 10004

       Re:     Lehman Brothers Holdings Inc. v. 1st Advantage Mortgage, L.L.C.
               Adv. Proc. No. 16-01019 (SCC) (the “Omnibus Action”)

               Lehman Brothers Holdings Inc. v. iFreedom Direct Corporation (f/k/a New
               Freedom Mortgage Corporation),
               Adv. Proc. No. 15-01426 (SCC)

               Lehman Brothers Holdings Inc. v. WEI Mortgage LLC f/k/a WEI Mortgage
               Corporation,
               Adv. Proc. No. 16-01346 (SCC)

               Notice of Decision in a Related Matter

Dear Judge Chapman:

       This firm and Wollmuth Maher & Deutsch LLP represent Lehman Brothers Holdings Inc.
(“LBHI”) in the above-referenced adversary proceeding and related adversary cases in which
LBHI is pursuing Indemnification Claims. Plaintiff LBHI respectfully submits this notice of
supplemental authorities to support LBHI’s opposition to iFreedom Direct Corporation’s
(“iFreedom”) motion to dismiss (ECF 22) and LBHI’s opposition to WEI Mortgage LLC’s
(“WEI”) motion to dismiss (ECF 14).

       iFreedom filed a separate collateral action against LBHI in the United States District Court
of Utah. iFreedom Direct Corp. v. LBHI, No. 15-cv-00868-TC, ECF No. 2 (D. Utah Dec. 10,
2015). After a hearing, the Utah court granted LBHI’s motion to dismiss the parallel Utah action
without prejudice in favor of the pending action before this Court. Id., ECF No. 59 (D. Utah June
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23, 2017). In the opinion, the Utah court distinguished the Tenth Circuit’s ruling in LBHI v.
Universal American Mortgage Co., 660 F. App’x 554 (10th Cir. 2016), which is a focus of WEI’s
motion to dismiss. The opinion is attached as Exhibit 1 as supplemental authority.

                                               Respectfully submitted,



                                               Michael A Rollin

Attachment
cc:   All parties (via ECF)
